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                Exhibit A
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                                                                                                           A
                                                                                                        EXHIBIT 99.3

                                                                                        -#'"- CLIFFS
                                               CLEVELAND-CLIFFS INC.
                                               200 Public Square , Suite 3300, Cleveland, OH 44 11 4
                                               P 216.694 .5700 clevelandcl!ffs.com


  David S. Sutherland, Chaim1an of the Board
  David B. Burritt, President & Chief Executive Officer
  United States Steel Corporation
  600 Grant Street
  Pittsburgh, PA 15219-2800

  July 28, 2023

  Gentlemen:

  On behalf of Cleveland-Cliffs Inc. ("Cliffs"), I would like to express Cliffs' strong interest in pursuing
  the acquisition (the "Transaction") of United States Steel Corporation (the "Company"). To that end,
  we are pleased to submit this non-binding proposal, which has been reviewed with and has the support
  of Cliffs' Board of Directors (this "Proposal"), to acquire the Company in a combined stock and cash
  transaction with an implied total enterprise value of approximately $10 billion. Specifically, we are
  proposing a mix of 50% cash and 50% stock, and we are valuing the Company's stock at $35.00 per
  share. This Proposal represents a premium of 42% to the Company's closing share price of $24 .67
  on July 28, 2023, and a premium of 43% to the Company 's 30-day volume-weighted average price
  of$24.41.

  This Proposal is based on 257.65 million fully diluted Company shares outstanding and $753 million
  of Company net debt as of June 30, 2023, assuming the Company's convertible notes are converted
  to equity at $35 .00 . This Proposal also assumes that the Company's public disclosure is an accurate
  reflection of the state of its operations and liabilities, and that the Company maintains its current
  capitalization and asset configuration in substantially the same form and substance as they currently
  exist.

  We believe that your Board members - as well as your stockholders, many of whom are also
  our shareholders - will enthusiastically support this Proposal. As explained in the attached
  supplemental materials, the Transaction creates a leading diversified company within the American
  steel landscape. The cash component of the Proposal allows for the Company's stockholders to
  recognize significant and immediate cash certainty in the Company's very relevant accomplishments
  to-date. The Company' s stockholders will also have the opportunity to benefit from the meaningful
  upside we anticipate in the form of Cliffs' stock. In particular, the Transaction will deliver significant
  synergies for the benefit of all pro fonna shareholders. It will also serve to de-risk the Company's
  strategic initiatives through enhanced scale and feedstock profile, and a robust pro forma free cash
  flow.

  Please note that we arc offering this substantial premium based on the synergies we envision
  achieving as a combined company. which we believe will reach the 500 million mark. As we
  have proven with our acquisitions and subsequent integrations of AK Steel and ArcelorMittal USA,
  Cleveland-Cliffs has a strong track record achieving meaningful synergies through scale, logistics
  and asset optimization. The achievement of these synergies would make our re 'pcctivc
  companies more valuable combined than on a standalon basi , justifying our premium offer.




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  United States Steel Corporation
  July 28, 2023
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   Among other relevant considerations, we would like to emphasize the following two points:

        i)        Our scrap company FPT can support the current needs of the Company's existing EAFs,
                  as well as the significantly increased scrap needs upon completion of the ongoing Big
                  River Steel expansion; and

        ii)       Similarly to how we currently operate our blast furnaces, the HBI produced in our state-
                  of-the-art Direct Reduction plant can be utilized in the Company' s blast furnaces, with
                  quantifiable positive impacts on coke rate and CO2 emissions.

  Of note, Cliffs has ample liquidity and access to capital sources to finance the Transaction and to
  repay or assume any indebtedness of the Company requiring repayment in connection with the
  Transaction. The Transaction is not subject to a fi nancing condition, although it would be subject to
  approval by Cliffs' shareholders, whom, for the reasons noted above (among others), we are confident
  will be fully supportive. We are attaching for your reference "highly confident" letters from each of
  Wells Fargo, UBS, MUFG and Truist in support of financing the Transactiot1.

  Moreover, we have a very good relation hip with the · nitcd Steelworkers (U W), which we
  believe provides Cliffs with a unique po ition to facilitate the smooth execution of the
  Transaction.

  Our executive management and advisors are committed to devoting the required resources that are
  necessary to quickly and efficiently complete our due diligence and finalize mutually acceptable
  definitive agreements on appropriate and customary terms. Given our familiarity with the Company,
  we will require only the completion of limited business due diligence along with customary public
  company legal due diligence in order to proceed with the Transaction. As a further demonstration of
  our commitment to the Transaction, we have already engaged Moelis & Company and Wells Fargo
  as our financial advisors, as well as Davis Polk as our legal counsel. Very importantly, ba ed on
  our preliminary analy is of the Transaction with Davis Polk, we anticipate that the Transaction
  will clear all applicable antitrust and other regulatory reviews in a timelv manner.

  This Proposal is intended to provide a framework that will allow us to discuss the Transaction and is
  not intended to, and does not, create or constitute any legally binding obligation between the parties.
  We are excited about this opportunity and are prepared to move forward expeditiously. In order to
  do so, we require a formal, written re ·ponse regarding this Proposal by 5:00 p.m. ET on
  August 7, 2023. We welcome the opportunity to further discuss this Proposal at your convenience.



                                                     Sincerely,    J-' O.   A

                                                     L~s1:rJ
                                                     Chairman, Presidet1t and Chief Executive Officer

  cc:         Duane D. Holloway, SVP, General Counsel, and Chief Ethics & Compliance Officer
